                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                    3:15-cv-00250-FDW
                                  (3:03-cr-00036-FDW-9)

JAMAR BRICE,                                          )
                                                      )
                  Petitioner,                         )
                                                      )
           v.                                         )
                                                      )                      ORDER
UNITED STATES OF AMERICA,                             )
                                                      )
                  Respondent.                         )
                                                      )

         THIS MATTER is before the Court following an initial review of Petitioner’s motion to

reconsider the dismissal of his motion to vacate, set aside or correct sentence which was filed

pursuant to 28 U.S.C. § 2255. See (3:03-cr-00036, Doc. No. 379). After examining the

Petitioner’s motion for reconsideration, the Court finds that it is properly considered as a

successive motion for relief under § 2255, and for the reasons that follow, the motion for

reconsideration will be dismissed as unauthorized, successive petition.

I.       BACKGROUND

         On May 16, 2006, Petitioner was sentenced in this District to a term of 204-months’

imprisonment and a five-year term of supervised release following his conviction on one count

of conspiracy to possess with intent to distribute cocaine and cocaine base, in violation of 21

U.S.C. § 846. Petitioner did not appeal.1 (Id., Doc. No. 192: Judgment).


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  Petitioner pled guilty pursuant to a written plea agreement. Prior to the entry of his guilty plea, the Government
filed notice of its intention to seek enhanced penalties pursuant to 21 U.S.C. § 851. In the § 851 notice, the
Government alleged that Petitioner had three prior felony drug convictions which were sustained in North Carolina
in Mecklenburg County Superior Court. The prior drug convictions subjected Petitioner to a mandatory term of life
imprisonment under the provisions of 21 U.S.C. § 841(b). Petitioner’s ultimate sentence, however, was greatly

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         On August 17, 2012, Petitioner filed a § 2255 motion to vacate his sentence and cited,

among other authority, the Fourth Circuit’s en banc decision in United States v. Simmons, 649

F.3d 237 (4th Cir. 2011).2 Petitioner argued that following Simmons, his prior state drug

convictions, which were the subject of the § 851 notice, no longer qualify as predicate felony

convictions because he could not have received more than one year in prison under North

Carolina’s Structured Sentencing Act.3 Petitioner also challenged his designation as a career

offender again arguing that his prior felony drug convictions did not qualify as predicate offenses

under § 4B1.1 of the U.S. Sentencing Guidelines Manual following Simmons. (3:12-cv-00525,

Doc. No. 1: Petitioner’s Motion to Vacate at 1-2).4

         After conducting an initial review of Petitioner’s § 2255 motion, the Court found that it

was untimely as it was filed over seven (7) years after Petitioner’s judgment became final. On

November 26, 2012, Petitioner’s § 2255 motion was dismissed, as were his alternative claims for

relief, and he did not file an appeal until on or about September 2, 2013. On November 22, 2013,

the Fourth Circuit dismissed the appeal after noting that it lacked jurisdiction over the appeal

because it was not filed in a timely manner. See Brice v. United States, 546 Fed. App’x 323 (4th



reduced after the Court granted the Government’s motion for a downward departure from the mandatory term of life
imprisonment. (3:03-cr-00036, Doc. No. 186: Motion for Downward Departure).
2
  In Simmons, the Fourth Circuit held that in determining whether a defendant has been convicted of an offense that
is punishable by more than one year, the sentencing court must examine the individual defendant that is before the
court and not a hypothetical defendant. In so holding, the Fourth Circuit overruled its earlier decisions in United
States v. Jones, 195 F.3d 205 (4th Cir. 1999), and United States v. Harp, 406 F.3d 242 (4th Cir. 2005), in which the
Fourth Circuit held that an offense is punishable by more than one year in prison as long as any defendant could
receive a term of imprisonment of more than one year upon conviction for that offense.
3
  A “felony drug offense” is defined, as relevant here, as any federal or state conviction that is punishable by more
than one year in prison. See 21 U.S.C. § 802(44).
4
  Petitioner pleaded additional claims for relief pursuant to a habeas petition pursuant to 21 U.S.C. § 841, and
through petitions for a writ of coram nobis and audita querela.

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Cir. 2013) (unpublished).

II.      DISCUSSION

         In his motion for reconsideration, Petitioner renews his claim that he is entitled to

sentencing relief based on the en banc Simmons opinion and he cites, among other authority, the

Fourth Circuit’s recent opinion in Miller v. United States, 745 F.3d 141 (2013), that was filed on

August 21, 2013, and held that the en banc Simmons decision “announced a new substantive rule

that is retroactive on collateral review. . .” Id. at 147.

         As noted, Petitioner’s initial § 2255 motion was dismissed on November 26, 2012, and

the Fourth Circuit dismissed his appeal for want of jurisdiction. Petitioner’s motion for

reconsideration was filed on or about September 3, 2013, or roughly seven months after his time

to appeal this Court’s order of dismissal expired. The Court finds that Petitioner’s motion for

reconsideration, which raises the same Simmons claim as in his initial § 2255 motion, and cites

additional authority, in particular, Miller v. United States, is in fact a successive challenge to his

criminal judgment under the provisions of § 2255(h) because the judgment in his initial § 2255

proceeding was final long before he filed the present motion.5 Because Petitioner is challenging

the same criminal judgment as he did in his initial § 2255 proceeding and the judgment in the

first proceeding was final at the time he filed his motion, he must demonstrate that he has

authorization to proceed with a successive § 2255 motion.

         The Antiterrorism and Effective Death Penalty Act (AEDPA) provides, in relevant part,

that “[a] second or successive motion [under Section 2255] must be certified as provided in


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  The district courts are instructed to “classify pro se pleadings from prisoners according to their contents, without
regard to their captions.” United States v. Winestock, 340 F.3d 200, 203 (4th Cir. 2003) (citing United States v.
Emmanuel, 288 F.3d 644, 647 (4th Cir. 2002), overruling on other grounds recognized by, United States v.
Blackstock, 513 F.3d 128 (4th Cir. 2008)).

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Section 2244 by a panel of the appropriate court of appeals to contain—

        (1) newly discovered evidence that, if proven and viewed in light of the evidence
            as a whole, would be sufficient to establish by clear and convincing evidence
            that no reasonable factfinder would have found the movant guilty of the
            offense; or

        (2) a new rule of constitutional law, made retroactive to cases on collateral
            review by the Supreme Court, that was previously unavailable.

28 U.S.C. § 2255(h).

       Petitioner has provided no evidence that he has secured the necessary authorization from

the Fourth Circuit to proceed with a successive Section 2255 motion. Accordingly, this Court is

without jurisdiction to consider the merits, if any, of the present § 2255 motion. See In re Vial,

115 F.3d 1192, 1194 (4th Cir. 1997); United States v. Winestock, 340 F.3d at 205.

       For the foregoing reasons, Petitioner’s motion for reconsideration will be dismissed

without prejudice.

       IT IS, THEREFORE, ORDERED that Petitioner’s motion for reconsideration is

DISMISSED without prejudice. (Doc. No. 1).

       IT IS FURTHER ORDERED that Petitioner’s motion to appoint counsel is DENIED.

(Doc. No. 2).

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, this Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003) (stating that in order to satisfy § 2253(c), a

petitioner must demonstrate that reasonable jurists would find the district court’s assessment of

the constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000)



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(holding that when relief is denied on procedural grounds, a petitioner must establish both that

the correctness of the dispositive procedural ruling is debatable and that the petition states a

debatably valid claim of the denial of a constitutional right).

       The Clerk is directed to close this civil case.

       IT IS SO ORDERED.


                                             Signed: June 22, 2015




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